             Case 5:20-cv-00200-PRW Document 11 Filed 05/04/20 Page 1 of 13




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF OKLAHOMA

 CONTINENTAL RESOURCES, INC.,                    )
                                                 )
                  Plaintiff,                     )
                                                 )
 v.                                              )
                                                   Civil Action No. 20-cv-200-PRW
 WOLLA OILFIELD SERVICES LLC,                    )
                                                 )
                                                 )
                  Defendant.                     )
                                                 )

                                 AMENDED COMPLAINT

         Plaintiff Continental Resources, Inc., (hereinafter “Continental”) files this

Amended Complaint against Defendant Wolla Oilfield Services LLC (“Wolla Oilfield”),

and alleges as follows:

                                      INTRODUCTION

         1.      This action involves a systematic scheme by Wolla Oilfield to bilk

Continental out of millions of dollars. Under a contract between the parties, Wolla

Oilfield agreed to provide Continental with hot oil services for its wells in North Dakota

with the work to be paid on an hourly basis.

         2.      Instead, Wolla Oilfield consistently billed Continental for work that Wolla

Oilfield did not perform at all. As described in detail below, Wolla Oilfield violated the

parties’ contract and other laws, and is liable to Continental for the damages it has

caused.




{S541260;}
             Case 5:20-cv-00200-PRW Document 11 Filed 05/04/20 Page 2 of 13




                                           PARTIES

         3.      Continental is an Oklahoma corporation with its principal place of business

in Oklahoma City, Oklahoma.

         4.      Wolla Oilfield Services is a limited liability corporation organized under

the laws of North Dakota, with its principal place of business in North Dakota. Upon

information and belief, Wolla Oilfield’s members are Jason Wolla and Samantha Oyloe,

both of whom reside in North Dakota. Jason Wolla manages Wolla Oilfield.

                               JURISDICTION AND VENUE

         5.      This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1332 since the matter in controversy exceeds $75,000 and is between citizens of

different states. This Court has supplemental jurisdiction over the state law claims

asserted in this Complaint pursuant to 28 U.S.C. § 1367.

         6.      This Court has personal jurisdiction over Wolla Oilfield because Wolla

Oilfield consented to the jurisdiction of this Court in the contract between the parties.

         7.      Venue is proper in this district because Wolla Oilfield has consented to this

venue in the contract between the parties. Furthermore, venue is proper under 28 U.S.C.

§ 1391(b) because a substantial part of the events giving rise to this claim (e.g., the

receipt and payment of fraudulent invoices) occurred in the Western District of

Oklahoma.




{S541260;}                                  2
             Case 5:20-cv-00200-PRW Document 11 Filed 05/04/20 Page 3 of 13




                                GENERAL ALLEGATIONS

The Master Service Contract

         8.      On April 4, 2016, Continental and Wolla Oilfield entered into a Master

Service Contract (the “MSC,” attached hereto as Exhibit 1). Pursuant to the MSC, Wolla

Oilfield agreed to provide hot oil services for Continental’s oil wells in North Dakota.

         9.      Hot oil service is a necessary part of oil and gas production. During the hot

oil service process, blockages in the wells are cleared and prevented by circulating heated

fluid into the piping, tubing, pipelines, or tanks associated with the wells. Hot oil service

is performed using hot oil trucks that are capable of heating and circulating the fluid used

in the process. Hot oil trucks are driven by individuals employed by Wolla Oilfield.

         10.     Under the MSC, Wolla Oilfield agreed to charge Continental an hourly rate

for the hot oil services provided to Continental (see Rate Sheet, attached hereto as Exhibit

2). Pursuant to § 9.3 of the MSC, Wolla Oilfield agreed to submit its invoices to

Continental for approval and payment in Oklahoma using an online system called

OpenInvoice. Wolla Oilfield attached invoices and work tickets its employees prepared

to these online invoices as supporting documentation.

         11.     Pursuant to § 15.1 of the MSC, Wolla Oilfield agreed all invoices, financial

settlements, billings and reports submitted to Continental would accurately reflect the

work done, and that those documents would be complete and accurate, and that it would

conduct its operations in accordance with all applicable laws, rules, and regulations.

         12.     Under applicable law and the MSC, Wolla Oilfield was required to comply

with U.S. Department of Transportation (“DOT”) regulations including, among other


{S541260;}                                  3
             Case 5:20-cv-00200-PRW Document 11 Filed 05/04/20 Page 4 of 13




things, regulations prohibiting drivers from driving for more than 14 consecutive hours

after coming on duty.

Wolla’s Fraudulent Billing Scheme

         13.     From January 2017 to the beginning of December 2019, Wolla Oilfield

billed Continental on a biweekly basis for each well for hot oil services it allegedly

performed. During that time, Wolla Oilfield billed Continental for approximately $7.7

million.

         14.     In September 2019, Continental learned Wolla Oilfield had been engaging

in a brazen scheme to defraud Continental out of millions of dollars. At that time, an

employee in Wolla Oilfield’s accounting department contacted Continental and disclosed

that Wolla Oilfield was systematically overbilling Continental and its other customers for

the work it was allegedly performing (the “Whistleblower”). This Whistleblower

explained that Wolla Oilfield was training its hot oil truck drivers to manipulate their

time entries to overbill Wolla Oilfield’s customers without being detected, and that these

employees were incentivized to engage in this fraudulent behavior because they were

paid for each hour they billed to a customer, regardless of whether they were actually

working.

         15.     These fraudulent overbilling activities were directed by Wolla Oilfield’s

upper management. Among other things, Jason Wolla directed employees not to put

contemporaneous time stamps on work tickets or use GPS trackers so as not to draw

attention to their business and billing practices. He also directed Wolla Oilfield’s




{S541260;}                                  4
             Case 5:20-cv-00200-PRW Document 11 Filed 05/04/20 Page 5 of 13




accounting department to inflate the hours accounting department employees assigned to

certain employees.

The Continental Audit

         16.     As a result of the information provided by the Whistleblower, Continental

initiated an audit of Wolla Oilfield’s records, pursuant to the MSC. The audit was

conducted in October and November of 2019.

         17.     During the audit, representatives from Continental met with Wolla Oilfield

management and employees. During the audit meetings, Wolla Oilfield and Jason Wolla

claimed Wolla Oilfield had extensive back office personnel handling the accounting and

billing, that another oil producer had audited Wolla Oilfield and found no issues, and

repeatedly assured Continental Wolla Oilfield’s business practices were proper and

legitimate.

         18.     On October 22, 2019, Jason Wolla assured Continental’s auditors the time

Wolla Oilfield billed to Continental was based on the actual time worked by its drivers,

Wolla Oilfield’s management cross-checked and validated the hours its drivers worked,

and that no invoice is processed with excessive time or time not worked. Furthermore,

Wolla Oilfield employees assured Continental it had not been overbilled, double-billed,

or ghost billed (i.e., billed for work that was not performed).

         19.     On October 31, 2019, Jason Wolla assured Continental’s auditors “with

100% certainty” that Wolla Oilfield had never billed Continental for a job that Wolla had

not done, and that every job Wolla had done had been for the agreed-upon pricing.




{S541260;}                                 5
             Case 5:20-cv-00200-PRW Document 11 Filed 05/04/20 Page 6 of 13




         20.     Wolla Oilfield and Jason Wolla’s assurances were completely false.

Continental’s auditors confirmed the Whistleblower’s account – Wolla Oilfield was

engaged in a systematic effort to overbill Continental through fraudulent billing tactics,

and consistently billed Continental for more hours than its employees actually worked.

         21.     The timesheets Wolla Oilfield’s drivers submitted to Wolla Oilfield

consistently showed drivers actually worked less than 10 hours a day on average, but that

Wolla Oilfield billed Continental for significantly more. In fact, Wolla Oilfield

employees would often bill Continental for more than 24 hours of work in a day. For

example, one Wolla Oilfield employee billed Continental and other customers for 28

hours on August 5, 2019, and 29.5 hours on August 6, 2019, even though his actual

timesheet shows he only worked 12 hours on each of those days (see Example Time

Sheet, attached hereto as Exhibit 3).

         22.     Wolla Oilfield attempted to hide its pervasive over-billing practices by

falsifying its documents and records. Since DOT regulations clearly state a commercial

truck driver cannot work for more than 14 consecutive hours, customers would obviously

be concerned if they were billed by a driver for more than 14 hours in a single day.

Accordingly, to avoid detection of their scheme, Wolla Oilfield’s management and

accounting personnel manipulated the driver’s work tickets and customer invoices by

moving the fraudulent hours to different days, so that the billings for any day would not

exceed 14 hours.




{S541260;}                                  6
             Case 5:20-cv-00200-PRW Document 11 Filed 05/04/20 Page 7 of 13




         23.      In addition to Wolla Oilfield fraudulently misstating the hours its

employees worked and billing Continental for those inflated hours, Wolla Oilfield also

excessively marked up the cost of propane (which is used in the hot oil service process),

even though the parties agreed propane would be charged to Continental at cost as a pass-

through item. These excessive mark-ups caused Continental to overpay Wolla Oilfield

for propane by over $700,000 alone.

Visual Surveillance

         24.      To confirm and validate the information learned from the Whistleblower

and its audit, Continental installed cameras at various well sites Wolla Oilfield serviced.

This surveillance demonstrated Wolla Oilfield billed Continental for time its drivers were

not even at the well locations.

         25.      The surveillance footage revealed Wolla Oilfield personnel spent, on

average, 15 minutes at each Continental well, but billed for several hours of time. For

example:

               a. On September 27, 2019, Wolla billed Continental for six hours of work that

                  its employee allegedly performed at the Corsican Federal 1-8 Well Pad.

                  However, Continental’s visual surveillance showed the Wolla employee

                  was on location for only one hour and nineteen minutes that day.

               b. On October 17, 2019, Wolla billed Continental for an hour of work its

                  employee allegedly performed at the Rath Federal 7-22H and Rath Federal

                  9-22H wells on October 1, 2019. However, Continental’s visual




{S541260;}                                   7
             Case 5:20-cv-00200-PRW Document 11 Filed 05/04/20 Page 8 of 13




                  surveillance showed the Wolla employee was on location for only eighteen

                  minutes that day.

         26.      The visual surveillance also revealed Wolla Oilfield repeatedly “ghost

billed” Continental – that is, billed Continental for work even though no Wolla Oilfield

employees ever came to the Continental wells on those days. For example:

               a. On September 28, 2019, Wolla billed Continental for work that its

                  employee allegedly performed at the Salo 2-35H and Hamlet 3-2H wells.

                  However, Continental’s visual surveillance showed that no Wolla employee

                  was present at those locations on that day.

               b. On October 3, 2019, Wolla Oilfield sent Continental five invoices and

                  billed Continental for 5 hours of work its employees allegedly performed at

                  the Rath Federal 6-22H1, 7-22H, 8-22H2, 9-22H, and 12-22H2 wells on

                  September 26, 2019. However, Continental’s visual surveillance showed

                  no Wolla employee came to those locations on that day.

               c. On October 3, 2019, Wolla Oilfield sent Continental two invoices and

                  billed Continental for two hours of work its employees allegedly performed

                  at the Hamlet 3-2H and Salo 2-35H wells on September 28, 2019.

                  However, Continental’s visual surveillance showed no Wolla employee

                  came to those locations on that day.

               d. On October 16, 2019, Wolla Oilfield sent Continental two invoices and

                  billed Continental for two hours of work its employees allegedly performed

                  at the Corsican Federal 1-15H and 2-15H1 wells on October 2, 2019.


{S541260;}                                   8
             Case 5:20-cv-00200-PRW Document 11 Filed 05/04/20 Page 9 of 13




                  However, Continental’s visual surveillance showed no Wolla employee

                  came to those locations on that day.

               e. On October 17, 2019, Wolla Oilfield sent Continental three invoices for

                  three hours of work its employees allegedly performed at the Rath Federal

                  6-22H1, 8-22H2, and 12-22H2 wells on October 9, 2019. However,

                  Continental’s visual surveillance showed no Wolla employee came to those

                  locations on that day.

               f. On October 17, 2019, Wolla Oilfield sent Continental two invoices for two

                  hours of work its employees allegedly performed at the Salo 2-35H and 3-

                  35H wells on October 10, 2019. However, Continental’s visual

                  surveillance showed no Wolla employee came to those locations on that

                  day.

         27.      As described above, the fraudulent billings from certain days were moved

to other days where no work occurred in order to prevent Continental from detecting

Wolla Oilfield’s excessive billing practices.

         28.      Wolla Oilfield’s fraudulent conduct is not limited to the instances noted

above. Wolla Oilfield’s records indicate a pervasive practice of billing customers for

more hours than its employees actually worked, failing to institute internal controls to

eliminate these practices, and manipulating records to hide these practices.

         29.      Based on the information obtained during Continental’s audit, Wolla

Oilfield has systematically overbilled Continental for years. As a direct and proximate




{S541260;}                                   9
         Case 5:20-cv-00200-PRW Document 11 Filed 05/04/20 Page 10 of 13




result of Wolla Oilfield wrongful conduct, Continental has been significantly

overcharged by at least $2.4 million from 2017-2019.

         30.   Upon information and belief, Wolla Oilfield is currently under investigation

by the FBI for its fraudulent practices.

                        COUNT I – BREACH OF CONTRACT

         31.   The allegations of paragraphs 1 through 30 are incorporated herein by

reference.

         32.   Wolla Oilfield and Continental entered into the MSC on April 4, 2016.

         33.   The MSC is a valid and enforceable contract.

         34.   Under Section 15.1 of the MSC, Wolla Oilfield agreed to conduct its

operations in accordance with all applicable laws, rules, regulation and decrees of any

governmental or regulatory body having jurisdiction over it. Among other things, Wolla

Oilfield is required to comply with the Federal Motor Carrier Safety Regulations, which

prohibit drivers from driving for more than 14 consecutive hours after coming on duty.

         35.   Under Section 15.1 of the MSC, Wolla Oilfield agreed all invoices,

financial settlements, billings and reports rendered to Continental shall reflect properly

the facts about all activities and transactions handled for the account of Continental and

those documents may be relied upon as being complete and accurate.

         36.   Under Section 15.1 of the MSC, Wolla Oilfield agreed to promptly notify

Continental upon discovery of any instance where Wolla failed to comply with the

provisions of Section 15.1.




{S541260;}                                 10
         Case 5:20-cv-00200-PRW Document 11 Filed 05/04/20 Page 11 of 13




         37.    Wolla Oilfield breached the MSC by, among other things, submitting

fraudulent invoices to Continental. These invoices vastly overstated the amount of hours

Wolla Oilfield employees performed services for Continental, and the cost of materials

used in performing those services. Wolla Oilfield engaged in a number of fraudulent

practices to prevent Continental from detecting its wrongful conduct and these breaches,

including but not limited to manipulating invoices and work tickets.

         38.    As a direct result of these breaches, Continental suffered significant

damages to be proven at trial, but which Continental currently estimates exceed $2.4

million.

               COUNT II – OKLAHOMA CONSUMER PROTECTION ACT

         39.    The allegations of paragraphs 1 through 38 are incorporated herein by

reference.

         40.    Wolla Oilfield engaged in a number of unlawful practices under the

Oklahoma Consumer Protection Act, 15 O.S. § 751 et. seq., including but not limited to:

                a.     making false and misleading statements of fact concerning the price

                       of its goods and services, see 15 O.S. § 753(11);

                b.     knowingly causing charges to be made to Continental through

                       OpenInvoice that were not authorized by Continental, see 15 O.S. §

                       753(25); and

                c.     engaging in deceptive trade practices, specifically misrepresenting

                       the cost of its goods and the amount of time it provided services to




{S541260;}                                 11
         Case 5:20-cv-00200-PRW Document 11 Filed 05/04/20 Page 12 of 13




                      Continental on its invoices, which deceived Continental to

                      Continental’s detriment, see 15 O.S. § 753(20).

         41.   Wolla Oilfield engaged in these unlawful practices in the course of its

business.

         42.   Wolla Oilfield’s unlawful practices caused Continental injury by deceiving

Continental into overpaying Wolla Oilfield for the services it provided.

         43.   As a direct and proximate result of Wolla Oilfield’s unlawful practices,

Continental as a consumer suffered actual damages (i.e., injury-in-fact) to be proven at

trial, but which Continental currently estimates exceed $2.4 million.

                                 PRAYER FOR RELIEF

         44.   WHEREFORE, Continental requests that this Court enter judgment against

Wolla Oilfield as follows:

               a.     That Wolla Oilfield has breached the MSC, and violated the

                      Oklahoma Consumer Protection Act;

               b.     That Wolla Oilfield is liable to Continental for actual damages for its

                      violations of law;

               c.     That Wolla Oilfield is liable for costs and attorneys’ fees for its

                      violations of the Oklahoma Consumer Protection Act;

               d.     That Wolla Oilfield are liable for pre-judgment and post-judgment

                      interest and costs on all sums awarded;

               e.     Any such other and further relief as the Court may deem just and

                      proper under the circumstances.


{S541260;}                                 12
         Case 5:20-cv-00200-PRW Document 11 Filed 05/04/20 Page 13 of 13




                             DEMAND FOR JURY TRIAL

         45.   Continental demands a trial by jury on all claims and issues so triable.

DATED: May 4, 2020

                                         Respectfully submitted,

                                         /s/ Nicholas “Nick” V. Merkley
                                         Nicholas (“Nick”) V. Merkley, OBA No. 20284
                                         GableGotwals
                                         One Leadership Square 15th Floor
                                         211 N. Robinson
                                         Oklahoma City, OK 73102
                                         Telephone: 405.568.3311
                                         Email: nmerkley@gablelaw.com

                                         AND

                                         Hugh Q. Gottschalk
                                         Pawan Nelson
                                         Wheeler Trigg O’Donnell LLP
                                         370 Seventeenth Street, Suite 4500
                                         Denver, CO 80202
                                         Telephone: 303.244.1800
                                         Facsimile: 303.244.1879
                                         Email:     gottschalk@wtotrial.com
                                                    pnelson@wtotrial.com


                            CERTIFICATE OF SERVICE


       I hereby certify that on May 4, 2020, I electronically transmitted the attached
document to the Clerk of Court using the Electronic Filing System for filing. Based on
the records currently on file in this case, the Clerk of Court will transmit a Notice of
Electronic Filing to those registered participants of the ECF System.


                                         /s/ Nicholas “Nick” V. Merkley
                                         Nicholas (“Nick”) V. Merkley




{S541260;}                               13
